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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                   EUGENE DIVISION

 J.N., by and through his next friend, Cheryl
 Cisneros; J.V., by and through his next friend,
 Alisha Overstreet; J.V., by and through his next
 friend, Sarah Kaplansky; B.M., by and through
 his next friend, Traci Modugno; on behalf of Case No. 6:19-CV-00096-AA
 themselves and all others similarly situated, and

 COUNCIL OF PARENT ATTORNEYS AND
 ADVOCATES, INC.,
                                                    PLAINTIFFS’ NOTICE OF APPEAL
 Plaintiffs,

 v.

 OREGON DEPARTMENT OF EDUCATION,

 DR. CHARLENE WILLIAMS, in her official
 capacities as Director of Oregon Department of
 Education and Deputy Superintendent of Public
 Instruction for the State of Oregon, and

 TINA KOTEK, in her official capacities as
 Governor and Superintendent of Public
 Instruction for the State of Oregon,

 Defendants.

                                     NOTICE OF APPEAL


        NOTICE IS HEREBY GIVEN that all Plaintiffs in the above-named case, filed on January

22, 2019, Dkt No. 1, hereby appeal to the United States Court of Appeals for the Ninth Circuit

from the order entered in this action on February 29, 2024, Dkt. No. 237, dismissing the action for

lack of subject matter jurisdiction under Federal Rule of Civil Procedure 12(h)(3).
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Respectfully submitted,                         Dated: March 29, 2024

_____/s/ Selene Almazan-Altobelli_______
Selene Almazan-Altobelli (MD No. 10506)*
selene@copaa.org
Council of Parent Attorneys and Advocates
8 Market Place, Suite 300
Baltimore, MD 21285


Thomas Stenson (OR No. 152894)                  Ira A. Burnim (D.C. No. 406154)*
tstenson@droregon.org                           irab@bazelon.org
Joel Greenberg (OR No. 943233)                  Lewis Bossing (D.C. No. 984609)*
jgreenberg@droregon.org                         lewisb@bazelon.org
Disability Rights Oregon                        Bazelon Center for Mental Health Law
511 SW 10th Avenue, Suite 200                   1090 Vermont Avenue NW, Suite 220
Portland, OR 97205-2748                         Washington, DC 20005-4900
(503) 243-2081                                  (202) 467-5730

Hannah Benton Eidsath (CT No. 428982)*
hbenton@youthlaw.org
Seth Packrone (NY No. 5395769)*                 Katherine Giordano (NY No. 5952270)*
spackrone@youthlaw.org                          katherine.giordano@probonolaw.com
Nina Monfredo (NY No. 5717624)*                 1 Manhattan West
nmonfredo@youthlaw.org                          New York, NY 10001
National Center for Youth Law                   (212) 735-3000
818 Connecticut Ave. NW, Suite 425
Washington, DC 20006
(202) 868-4781

*Admitted pro hac vice

Attorneys for Plaintiffs




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